Case 4:21-cv-00271-MW-MAF Document 75-2 Filed 03/26/22 Page 1 of 8




                 Exhibit 2
     Case 4:21-cv-00271-MW-MAF Document 75-2 Filed 03/26/22 Page 2 of 8




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

WILLIAM A. LINK, et al.,

     Plaintiffs,                               Case No. 4:21-cv-00271-MW-MAF

      v.

RICHARD CORCORAN, in his official
capacity as the Florida Commissioner of
Education, et al.,

     Defendants.

       DECLARATION OF ANDREW GOTHARD IN SUPPORT OF
       PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
        RESTRAINING ORDER OR IN THE ALTERNATIVE FOR
                   PRELIMINARY INJUNCTION

I, Andrew Gothard, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.     I am over the age of 18. I am fully competent to make this declaration.

The following statements are based on my personal knowledge.

      2.     I am the President of Plaintiff United Faculty of Florida (“UFF”).

      3.     Beginning on Thursday afternoon and continuing over the course of

Friday, UFF has heard from multiple members, across multiple public post-

secondary institutions, that the Survey required under Fla. Stat. §§ 1001.03(19)(b),

1001.706(13)(b) will be implemented in accordance with the following timeline:

      Pre-           March 31, 2022 – Each institution sends pre-survey
      notification   notifications to students and employees, respectively.
      Survey         April 4, 2022 – Each institution sends survey
                                         1
     Case 4:21-cv-00271-MW-MAF Document 75-2 Filed 03/26/22 Page 3 of 8




                       invitations to students and employees, respectively.
                       April 7, 2022 – Each institution sends survey
      Reminders
                       reminders to students and employees, respectively.
                       April 8, 2022 – Survey collectors close at 11:59 p.m.
      Closing
                       ET.
                       No later than April 15, 2022 – College/University
      Certification    presidents submit requested information on
                       dissemination method and campus population size.


      4.     UFF has serious concerns that the survey’s imminent administration

will cause serious, irreparable harm to UFF’s members in several different ways.

      5.     First, the context in which HB 233 was adopted made clear to us and

our members that the intention behind the surveys was to use them as a weapon to

facilitate retaliation by the government based on its disagreement with what it views

as left-leaning communications within public post-secondary institutions and the

“threat” that left-leaning faculty are “indoctrinating” students. The myth of Florida

faculty and staff indoctrinating students with radical ideologies is as baseless as it is

harmful to the academy in general and UFF’s members more specifically.

      6.     Second, although I understand Defendants have still not provided a

final version of the survey that they intend to implement within the coming week

and a half, the content of every iteration of the survey that I have seen asks

respondents, including but not limited to UFF’s members, to report and register their

personal beliefs, associations, and political views. For example, the documents that

are labeled as the “final” surveys from FSU pose the following questions, which


                                           2
     Case 4:21-cv-00271-MW-MAF Document 75-2 Filed 03/26/22 Page 4 of 8




explicitly ask respondents to report and register their political beliefs, associations,

and views: “Generally speaking, you would say that you think of yourself as a . . .

[a] Republican [b] Independent [c] Democrat;” and “On a scale from 1 to 7, where

1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the middle,

where would you place yourself? 1. Extremely liberal[,] 2. Somewhat liberal[,] 3.

Moderate leaning liberal[,] 4. Moderate[,] 5. Moderate leaning conservative[,] 6.

Somewhat conservative[,] 7. Extremely conservative.” While I understand that

Defendants have disclaimed that these are actually the “final” versions, every

iteration of the survey that has been produced by FSU that I have seen contains

questions that explicitly ask respondents about their political leanings and

ideologies.

      7.      UFF is extremely concerned about its membership being asked to

provide information about their political beliefs and ideology, particularly to a

government that has made it clear it is hostile toward certain of those political beliefs

and ideology, even within an anonymous format. And if the final surveys include

requests for demographic information as is the case in several iterations of the

surveys that FSU has provided, for many of UFF’s members, identifying which

member provided which response would be easily reverse engineered: for example,

in several iterations, faculty respondents are asked to register and report the specific

college at the institution to which they are assigned, “sex or gender,” “sexual


                                           3
     Case 4:21-cv-00271-MW-MAF Document 75-2 Filed 03/26/22 Page 5 of 8




orientation,” “religious affiliation,” and the nature of their “faculty appointment.” In

each of the various iteration of the surveys I have seen, faculty respondents are asked

some version of whether they are “tenured,” along with their race, ethnicity, their

gender, and their present academic rank. And it is inevitable that – because the data

comes from specific schools – that information will also be provided, even if not

specifically requested by the survey. Identifying specific faculty members from even

a handful of these responses would be incredibly easy for some, and

disproportionately so for non-white faculty and staff, LBGTQ+ faculty and staff,

faculty and staff at smaller institutions, and faculty and staff within smaller colleges

at those institutions.

       8.     Every iteration of the student and faculty surveys that I have seen also

asks respondents to police faculty, staff, and students and report how often the

respondents believe, for example, that: “instructors present social and political

issues in an unfair and one-side manner;” “instructors create an environment that is

hostile to certain social or political views;” and “staff create an environment that is

hostile to certain political or social views.” (emphasis in original). This call for

reporting and policing of fellow faculty, staff, and students directly harms UFF’s

members by pitting the participants in each campus’s learning communities against

one another. Similarly, the various iterations of the surveys ask respondents to also

classify their perception of—and effectively report upon—the political affiliations


                                           4
     Case 4:21-cv-00271-MW-MAF Document 75-2 Filed 03/26/22 Page 6 of 8




of others by asking such questions as: “Thinking about faculty at your institution,

would you say most are politically to the left of you (more liberal) or politically to

the right of you (more conservative)?” (emphasis in original).

      9.     Third, regardless of the specific array of questions that the final surveys

ask, the collection and ultimate aggregation of and reporting on the “data” obtained

by implementation of any version of these surveys threatens UFF’s members with

retributory harm, both from the government and in the form of public harassment.

The Survey Provisions of House Bill 233 (2021) appear designed to create

“evidence” to support the baseless but increasingly dangerous narrative that faculty

are maliciously indoctrinating students with “radical leftist” ideas. This is a myth,

but it is one that has been aggressively peddled by the Florida Legislature and the

Governor, as well as right wing “press” organizations, including among the most

notable, Campus Reform, which trades in sensational and often entirely false reports

(or reports that are so a textual to be effectively false) “news” articles that fuel this

false narrative of “left-wing indoctrination” of students. The professors who are

attacked in this way often receive threats of harm, harassment, and sometimes face

personal and professional consequences. There is no legitimate basis for the survey

that UFF can conceive of; both in idea and every iteration of its design that has been

provided, the only logical explanation for it is that it is meant to manufacture

“evidence” to continue to justify these types of false attacks.


                                           5
     Case 4:21-cv-00271-MW-MAF Document 75-2 Filed 03/26/22 Page 7 of 8




      10.    If any of the versions of these surveys that have been provided by FSU

are implemented beginning on April 4 and concluding on April 8, Defendants will

have irrevocably obtained data that Defendants and others have explicitly stated are

intended to be used for retaliatory budget cuts against UFF’s members’ institutions.

Moreover, their implementation—and on such a fast timeline—leaves UFF’s

members with little time to consider how to respond to, and whether to participate

in the Survey.

      11.    Because of the context in which the Survey was passed and the repeated

and deeply concerning statements that it was intended to and will be used to retaliate

against faculty and institutions that are deemed to be “too liberal,” some faculty

members may feel effectively compelled to respond in order to try to ensure that

whatever “data” the state obtains through the surveys is not completely skewed by

the self-selection of respondents. It seems quite likely that the response rate to the

surveys will be incredibly low, and that the responses of a few individuals will then

be pointed to as the state as “evidence” to support whatever action the state wants to

take. UFF is also deeply concerned that the data might be obtained for bad faith use,

not only by members of Florida’s government itself, but other actors, and similarly

used to cause harm to UFF and its membership.

      12.    The threats posed by the surveys are extremely imminent given that

Defendants intend to implement the surveys in a matter of days. UFF’s concerns are


                                          6
     Case 4:21-cv-00271-MW-MAF Document 75-2 Filed 03/26/22 Page 8 of 8




exacerbated by the fact that Defendants appear to have purposefully avoided

producing drafts or plans for the survey’s implementation to Plaintiffs to allow them

time to timely assess them before they are rolled out to the schools, and send to

students, faculty, and staff.

      13.    I have read the Amended Complaint for Declaratory and Injunctive

Relief (ECF No. 35) and hereby verify that, with the exception of the allegations

therein that are unique to other Plaintiffs (id. ¶¶ 21-38), the allegations of fact

contained therein are true and correct to the best of my knowledge.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 26th day of March 2022.

                                       ____________________________________
                                       Andrew Gothard, President
                                       United Faculty of Florida




                                          7
